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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS

 DAVID FOLKENFLIK; NATIONAL                       §
 PUBLIC RADIO, INC.; EDITH                        §
 CHAPIN; LESLIE COOK; AND                         §
 PALLAVI GOGOI,                                   §
                                                  §
           Movants,                               §
                                                  §
 V.                                               §         Ancillary to CIVIL ACTION NO.
                                                  §
 ORONE LAIZEROVICH,                               §         4:18-CV-00442-ALM
                                                  §
                                                  §
           Respondent.                            §



                            APPENDIX TO MOTION TO COMPEL

EXHIBIT A.            Subpoena to Orone Laizerovich dated November 18, 2019

EXHIBIT B.            Subpoena to ILI Solutions, LLC dated November 18, 2019

EXHIBIT C.            Proofs of Service on Orone Laizerovich and ILI Solutions, LLC

EXHIBIT D.            Email from Laizerovich to Prather dated December 16, 2019

EXHIBIT E.            Email from Prather to Laizerovich dated December 20, 2019

EXHIBIT F.            Email from Prather to Laizerovich dated December 21, 2019

EXHIBIT G.            Email from Laizerovich dated December 29, 2019

EXHIBIT H.            Email from Laizerovich dated December 30, 2019

EXHIBIT I.            Email from Laizerovich dated December 31, 2019

EXHIBIT J.            Email from Laizerovich dated January 6, 2020

EXHIBIT K.            Letter entitled “Subpoena Response”

EXHIBIT L.            Letter to Laizerovich dated January 9, 2020




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                                                                     App. 0001
                                Exhibit 1
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                                                                     App. 0004
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                           Eastern District
                                                       __________  District of
                                                                            of Texas
                                                                               __________
                           Ed Butowsky
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 4:18-cv-00442-ALM
  David Folkenflik; National Public Radio, Inc.; Edith                        )
       Chapin; Leslie Cook; and Pallavi Gogoi                                 )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                            Orone M. Laizerovich
                                                    5604 Plumtree Dr., Dallas, Texas 75252-4929
                                                       (Name of person to whom this subpoena is directed)

      ✔
      u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached "Exhibit A"



 Place: Haynes and Boone, LLP                                                           Date and Time:
          2323 Victory Avenue, suite 700, Dallas, TX 75219                                                  12/09/2019 12:00 pm

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        11/18/2019

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                     /s/ Laura Prather
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
 David Folkenflik, et al.                                                       , who issues or requests this subpoena, are:
  /DXUD3UDWKHU+D\QHVDQG%RRQH//3&RQJUHVV6XLWH$XVWLQ7;ODXUDSUDWKHU#KD\QHVERRQHFRP
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                                                        App. 0005
                                                                Exhibit A
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 4:18-cv-00442-ALM

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                        .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                 0.00     .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




                                                                                                                                            App. 0006
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                                                                                                               App. 0007
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    EXHIBIT A TO SUBPOENA TO PRODUCE DOCUMENT, INFORMATION, OR
                    OBJECTS TO ORONE LAIZEROVICH

YOU ARE COMMANDED to produce at the time, date, and place set forth in the accompanying

Subpoena to Produce Documents, Information, or Objects (the “Subpoena”) the following

documents, electronically stored information, or objects pursuant to Rule 45 of the Federal Rules

of Civil Procedure, to Defendants David Folkenflik, National Public Radio, Inc., Edith Chapin,

Leslie Cook, and Pallavi Gogoi (collectively “Defendants”).

                                              I.
                                        INSTRUCTIONS

       1.      You are required to produce for inspection and copying true and correct copies of

the designated documents at the office of Defendants’ counsel, Haynes and Boone, LLP, 2323

Victory Ave. Ste. 700, Dallas, Texas 75219.

       2.      In response to this Subpoena, provide all requested documents in your possession,

custody or control, including all documents in the possession, custody or control of your attorneys

or agents. If your response to this Subpoena is that any requested document or documents are not

in your possession, custody or control, identify who has possession, custody or control of the

document or documents and the location of the document or documents.

       3.      If a request seeks a document which to your knowledge does not exist, please state

that the document does not exist.

       4.      Without interfering with the readability of a document, please identify in some

manner the request(s) to which the document is responsive.

       5.      These requests for production are continuing in nature, and you are required to

amend or supplement your responses if you or other persons acting on your behalf become aware

of additional information between the time your answers are given and the time of trial that renders

your responses no longer correct, accurate or complete.


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        6.      If you contend that you are entitled to withhold from production any documents

identified in these requests for production on the basis of attorney-client privilege, work product

doctrine or any other ground, follow the instructions described in sub-parts (a) - (e) below for each

withheld document:

                (a)       describe the nature of the document (e.g., letter or memorandum);


                (b)       state the date of the document;


                (c)       identify the person(s) who sent and received the document and/or any copy
                          thereof;


                (d)       without revealing the privileged information, identify the subject matter of
                          the document; and


                 (e)      state the specific privilege(s) you assert regarding the document.


        7.      Unless otherwise specified, the time period for these requests is from July 10, 2016

until the present time.


                                                 II.
                                            DEFINITIONS

        For purposes of these requests, the terms listed below are defined as follows:

        1.      You or Your refers to Orone Laizerovich, and each of your agents, representatives,

affiliates, employees, and attorneys and any other individual or entity presently or formerly acting

on your behalf or at your request, including ILI Solutions, LLC.

        2.      Plaintiff or Butowsky refers to Ed Butowsky, and each of his agents,

representatives, and attorneys and any other individual or entity presently or formerly acting on

his behalf or at his request.




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          3.   Defendants refers to Defendants David Folkenflik, National Public Radio, Inc.,

Edith Chapin, Leslie Cook, and Pallavi Gogoi and any of their officers, employees, agents,

representatives, attorneys or any other individual or entity presently or formerly acting on their

behalf.

          4.   The term document(s) shall mean and include all written, typed, printed, recorded,

taped, or pictorial matter of any kind or nature whatsoever, however produced or reproduced, in

whatever form maintained, including electronically stored information such as metadata, and all

identical and non-identical (for whatever reason) copies and prior drafts thereof, in Your

possession, custody or control and includes, but is not limited to, correspondence, transcriptions,

tapes, notes from telephone conversations, agreements, contracts, records, tape recordings

(whether or not transcribed), reports, memoranda, studies, summaries, minutes, notes, agenda,

bulletins, calendars, diaries, logs, announcements, instructions, charts, manuals, brochures,

schedules, email, blogs, internet postings, text messages, instant messages, computer data (whether

on cards, compact disk, DVD, ISP server, or otherwise), telegrams, teletype, photographic matter,

financial statements, accounting records, commission worksheets, and any other such documents

and tangible things, whether in hard, digital or electronic version. The term “document” also

includes copies of documents upon which notations or writings appear that are not present on the

originals or other copies of such documents. In all cases where original and/or non-identical copies

are not available, “document(s)” also means identical copies of original documents and copies of

non-identical copies. A document is deemed to be in Your custody if You have possession of the

document or has the right to secure such document from another person having possession thereof.

All information available in electronic or magnetic medium should be provided electronically on

an external hard drive in their native format.




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       5.      The term electronically stored information, when used in these Requests, refers

to information stored on a computer, CD, DVD, disk, hard drive, or other magnetic or electronic

device, including, without limitation, voicemail messages and files; email messages and files;

deleted files, programs, or e-mails; data files; program files; backup and archival tapes; temporary

files; system history files; website information stored in textual, graphical or audio format; website

log files; cache files; text messages, instant messages, cookies; writings; drawings; graphs; charts;

photographs; sound recordings; images; video recordings; and other data or data compilations

stored in any medium from which information can be obtained or translated, if necessary, by You

into reasonably usable form.

       6.      The term communication, when used in these Requests, refers to any oral or

written transmission, exchange of information, utterance, notation or statement, by or through any

medium, including, but not limited to telephone, telegraph, mail, email, text message, instant

messaging, telecopy, and personal conversation(s).

       7.      The conjunction or as used in these requests should not be read to limit part of the

request but, whenever applicable, it should have the same meaning as the word “and.” For

example, an interrogatory stating “support or refer” should be read as “support and refer,” if an

answer that does both can be made.

       8.      The word and means and/or.

       9.      The term Person means any natural person, corporation, firm, association,

partnership, joint venture, proprietorship, governmental body, or any other organization, business,

or legal entity, and all predecessors or successors in interest.




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       10.     The term Chapwood means Chapwood Capital Investment Management LLC, and

each of its owners, managers, agents, representatives, parents, affiliates, subsidiaries, divisions,

employees, and attorneys.

       11.     The term NPR litigation means the litigation styled Butowsky v. Folkenflik et al.,

No. 4:18-cv-422-ALM, filed in the Eastern District of Texas.

       12.     The term Wheeler Litigation means the litigation styled Wheeler v. Twenty-First

Century Fox, Inc., et. al., Case No. 1:17-CV-05087, filed in the United States District Court for

the Southern District of New York.

       13.     The term Rich Family Litigation means, collectively, the litigation styled Rich v.

Butowsky et al., Case No. 1:18-cv-681-RJL filed in the United States District Court for the District

of Columbia and Rich v. Fox News Network, LLC, et al., Case No. 1:18-cv-2223 filed in the United

States District Court for Southern District of New York.

       14.     The term Related Butowsky Litigation refers to the following lawsuits:

                   a. Butowsky v. Democratic National Committee, Case No. 4:19-cv-00582,
                      filed in the Eastern District of Texas on August 1, 2019.

                   b. Butowsky v. Gottlieb, et al., Case No. 4:19-cv-00180, filed in the Eastern
                      District of Texas on March 12, 2019.

                   c. Butowsky v. Susman & Godfrey, LLP, Cause No. 416-01222-2019, filed in
                      Collin County, Texas on March 6, 2019.

                   d. Butowsky v. Wigdor, Case No. 4:19-cv-00577, filed in the Eastern District
                      of Texas on July 31, 2019.

                   e. Chapwood Capital Investment Mgmt., LLC v. Charles Schwab Corp., Case
                      No. 4:18-cv-00287, filed in the Eastern District of Texas on April 23, 2018.

                   f. Chapwood Capital Investment Mgmt., LLC v. Charles Schwab Corp., Case
                      No. 4:18-cv-00548, filed in the Eastern District of Texas on August 3, 2018.

                   g. Clevenger v. U.S. Dep’t of Justice, Case No. 1:18-cv-01568, filed in the
                      Eastern District of New York on March 14, 2018.




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       15.     The terms referring to, concerning, relating to, or pertaining to any given subject

when used to specify a document, communication, or statement, shall mean or refer to any

document, communication, or statement that constitutes, contains, embodies, reflects, identifies,

states, refers to, deals with, discusses, mentions, supports, refutes, controverts, depicts, and or is

in any manner whatsoever pertinent to that subject.

                                  DOCUMENTS REQUESTED

Please produce the following documents, records, and information in your possession, custody, or
control:

   1. All documents referring or relating to, and all communications between, You and the
      following:
          a. Ed Butowsky;
          b. Dani Butowsky;
          c. Chapwood;
          d. Manuel Chavez;
          e. Thomas Schoenberger;
          f. Trevor Fitzgibbons;
          g. Beth Blackburn;
          h. Malia Zimmerman;
          i. Adam Housley;
          j. Shadowbox or any of its owners, representatives, employees, or agents;
          k. Fox News or any of its owners, representatives, employees, or agents;
          l. Lora Logan;
          m. Joseph Burkett;
          n. Any member of the Trump Administration (past or present);
          o. Steve Biss;
          p. Tanya Cornwell;
          q. Ty Clevenger; or
          r. defango@protonmail.com.

   2. All contracts or agreements entered into between You and Ed Butowsky.

   3. All contracts or agreements entered into between You and Chapwood.

   4. All contracts or agreements You entered concerning
      www.DeBunkingRodWheelersClaims.com



ORONE LAIZEROVICH SUBPOENA EXHIBIT A                                                            PAGE
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   5. All contracts or agreements You entered concerning
      www.DeBunkingRodWheelersClaims.net

   6. All documents evidencing payments You received or were promised from:
          a. Ed Butowsky;
          b. Dani Butowsky;
          c. Chapwood;
          d. Googie LLP;
          e. Waterford Capital, Inc.;
          f. WoodChap, LLC;
          g. Steve Biss;
          h. Ty Clevenger; or
          i. Tanya Cornwell

   7. All documents referring or relating to, and all communications between You and any
      recipient, concerning the following, from July 10, 2016 to the present:
          a. David Folkenflik;
          b. Seth Rich;
          c. Aaron Rich;
          d. Joel Rich;
          e. Mary Rich;
          f. www.DeBunkingRodWheelersClaims.com; or
          g. www.DeBunkingRodWheelersClaims.net.

   8. All documents and communications evidencing the information posted by You on
      www.DeBunkingRodWheelersClaims.com.

   9. All documents and communications evidencing the information posted by You on
      www.DeBunkingRodWheelersClaims.net.

   10. All documents and communications evidencing the registration, renewals, and/or
       payment(s) for the website www.DeBunkingRodWheelersClaims.com.

   11. All documents and communications evidencing the registration, renewals, and/or
       payment(s) for the website www.DeBunkingRodWheelersClaims.net.

   12. All documents, communications and evidence You possess concerning the investigation
       into the murder of Seth Rich or the source of the 2016 Democratic National Committee
       leak of emails.




ORONE LAIZEROVICH SUBPOENA EXHIBIT A                                                      PAGE
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   13. All documents or communications You possess concerning the allegations in the NPR
       Litigation.

   14. All documents or communications You possess concerning the allegations in the Wheeler
       Litigation.

   15. All documents or communications You possess concerning the allegations in the Rich
       Family Litigation.

   16. All documents or communications You possess concerning the allegations in the Related
       Butowsky Litigation.




ORONE LAIZEROVICH SUBPOENA EXHIBIT A                                                   PAGE
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                           Eastern District
                                                       __________  District of
                                                                            of Texas
                                                                               __________
                           Ed Butowsky
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 4:18-cv-00442-ALM
  David Folkenflik; National Public Radio, Inc.; Edith                        )
       Chapin; Leslie Cook; and Pallavi Gogoi                                 )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                                ILI Solutions LLC
                                                      4409 Longfellow Drive Plano, TX 75093 USA
                                                       (Name of person to whom this subpoena is directed)

      ✔
      u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached "Exhibit A"



 Place: Haynes and Boone, LLP                                                           Date and Time:
          2323 Victory Avenue, suite 700, Dallas, TX 75219                                                  12/09/2019 12:00 pm

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        11/18/2019

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                     /s/ Laura Prather
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
 David Folkenflik, et al.                                                       , who issues or requests this subpoena, are:
  /DXUD3UDWKHU+D\QHVDQG%RRQH//3&RQJUHVV6XLWH$XVWLQ7;ODXUDSUDWKHU#KD\QHVERRQHFRP
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                                                        App. 0016
                                                                  Exhibit B
            Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20                                            Page 18 of 67 PageID 27
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 4:18-cv-00442-ALM

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                        .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                 0.00     .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




                                                                                                                                            App. 0017
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                                                                                                               App. 0018
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    EXHIBIT A TO SUBPOENA TO PRODUCE DOCUMENT, INFORMATION, OR
                     OBJECTS TO ILI SOLUTIONS, LLC

YOU ARE COMMANDED to produce at the time, date, and place set forth in the accompanying

Subpoena to Produce Documents, Information, or Objects (the “Subpoena”) the following

documents, electronically stored information, or objects pursuant to Rule 45 of the Federal Rules

of Civil Procedure, to Defendants David Folkenflik, National Public Radio, Inc., Edith Chapin,

Leslie Cook, and Pallavi Gogoi (collectively “Defendants”).

                                              I.
                                        INSTRUCTIONS

       1.      You are required to produce for inspection and copying true and correct copies of

the designated documents at the office of Defendants’ counsel, Haynes and Boone, LLP, 2323

Victory Ave. Ste. 700, Dallas, Texas 75219.

       2.      In response to this Subpoena, provide all requested documents in your possession,

custody or control, including all documents in the possession, custody or control of your attorneys

or agents. If your response to this Subpoena is that any requested document or documents are not

in your possession, custody or control, identify who has possession, custody or control of the

document or documents and the location of the document or documents.

       3.      If a request seeks a document which to your knowledge does not exist, please state

that the document does not exist.

       4.      Without interfering with the readability of a document, please identify in some

manner the request(s) to which the document is responsive.

       5.      These requests for production are continuing in nature, and you are required to

amend or supplement your responses if you or other persons acting on your behalf become aware

of additional information between the time your answers are given and the time of trial that renders

your responses no longer correct, accurate or complete.


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        6.      If you contend that you are entitled to withhold from production any documents

identified in these requests for production on the basis of attorney-client privilege, work product

doctrine or any other ground, follow the instructions described in sub-parts (a) - (e) below for each

withheld document:

                (a)       describe the nature of the document (e.g., letter or memorandum);


                (b)       state the date of the document;


                (c)       identify the person(s) who sent and received the document and/or any copy
                          thereof;


                (d)       without revealing the privileged information, identify the subject matter of
                          the document; and


                 (e)      state the specific privilege(s) you assert regarding the document.


        7.      Unless otherwise specified, the time period for these requests is from July 10, 2016

until the present time.


                                                 II.
                                            DEFINITIONS

        For purposes of these requests, the terms listed below are defined as follows:

        1.      You or Your refers to ILI Solutions, LLC, and each of your owners, managers,

agents, representatives, parents, affiliates, subsidiaries, divisions, employees, and attorneys and

any other individual or entity presently or formerly acting on your behalf or at your request.

        2.      Plaintiff or Butowsky refers to Ed Butowsky, and each of his agents,

representatives, and attorneys and any other individual or entity presently or formerly acting on

his behalf or at his request.




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          3.   Defendants refers to Defendants David Folkenflik, National Public Radio, Inc.,

Edith Chapin, Leslie Cook, and Pallavi Gogoi and any of their officers, employees, agents,

representatives, attorneys or any other individual or entity presently or formerly acting on their

behalf.

          4.   The term document(s) shall mean and include all written, typed, printed, recorded,

taped, or pictorial matter of any kind or nature whatsoever, however produced or reproduced, in

whatever form maintained, including electronically stored information such as metadata, and all

identical and non-identical (for whatever reason) copies and prior drafts thereof, in Your

possession, custody or control and includes, but is not limited to, correspondence, transcriptions,

tapes, notes from telephone conversations, agreements, contracts, records, tape recordings

(whether or not transcribed), reports, memoranda, studies, summaries, minutes, notes, agenda,

bulletins, calendars, diaries, logs, announcements, instructions, charts, manuals, brochures,

schedules, email, blogs, internet postings, text messages, instant messages, computer data (whether

on cards, compact disk, DVD, ISP server, or otherwise), telegrams, teletype, photographic matter,

financial statements, accounting records, commission worksheets, and any other such documents

and tangible things, whether in hard, digital or electronic version. The term “document” also

includes copies of documents upon which notations or writings appear that are not present on the

originals or other copies of such documents. In all cases where original and/or non-identical copies

are not available, “document(s)” also means identical copies of original documents and copies of

non-identical copies. A document is deemed to be in Your custody if You have possession of the

document or has the right to secure such document from another person having possession thereof.

All information available in electronic or magnetic medium should be provided electronically on

an external hard drive in their native format.




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       5.      The term electronically stored information, when used in these Requests, refers

to information stored on a computer, CD, DVD, disk, hard drive, or other magnetic or electronic

device, including, without limitation, voicemail messages and files; email messages and files;

deleted files, programs, or e-mails; data files; program files; backup and archival tapes; temporary

files; system history files; website information stored in textual, graphical or audio format; website

log files; cache files; text messages, instant messages, cookies; writings; drawings; graphs; charts;

photographs; sound recordings; images; video recordings; and other data or data compilations

stored in any medium from which information can be obtained or translated, if necessary, by You

into reasonably usable form.

       6.      The term communication, when used in these Requests, refers to any oral or

written transmission, exchange of information, utterance, notation or statement, by or through any

medium, including, but not limited to telephone, telegraph, mail, email, text message, instant

messaging, telecopy, and personal conversation(s).

       7.      The conjunction or as used in these requests should not be read to limit part of the

request but, whenever applicable, it should have the same meaning as the word “and.” For

example, an interrogatory stating “support or refer” should be read as “support and refer,” if an

answer that does both can be made.

       8.      The word and means and/or.

       9.      The term Person means any natural person, corporation, firm, association,

partnership, joint venture, proprietorship, governmental body, or any other organization, business,

or legal entity, and all predecessors or successors in interest.




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       10.     The term Chapwood means Chapwood Capital Investment Management LLC, and

each of its owners, managers, agents, representatives, parents, affiliates, subsidiaries, divisions,

employees, and attorneys.

       11.     The term NPR litigation means the litigation styled Butowsky v. Folkenflik et al.,

No. 4:18-cv-422-ALM, filed in the Eastern District of Texas.

       12.     The term Wheeler Litigation means the litigation styled Wheeler v. Twenty-First

Century Fox, Inc., et. al., Case No. 1:17-CV-05087, filed in the United States District Court for

the Southern District of New York.

       13.     The term Rich Family Litigation means, collectively, the litigation styled Rich v.

Butowsky et al., Case No. 1:18-cv-681-RJL filed in the United States District Court for the District

of Columbia and Rich v. Fox News Network, LLC, et al., Case No. 1:18-cv-2223 filed in the United

States District Court for Southern District of New York.

       14.     The term Related Butowsky Litigation refers to the following lawsuits:

                   a. Butowsky v. Democratic National Committee, Case No. 4:19-cv-00582,
                      filed in the Eastern District of Texas on August 1, 2019.

                   b. Butowsky v. Gottlieb, et al., Case No. 4:19-cv-00180, filed in the Eastern
                      District of Texas on March 12, 2019.

                   c. Butowsky v. Susman & Godfrey, LLP, Cause No. 416-01222-2019, filed in
                      Collin County, Texas on March 6, 2019.

                   d. Butowsky v. Wigdor, Case No. 4:19-cv-00577, filed in the Eastern District
                      of Texas on July 31, 2019.

                   e. Chapwood Capital Investment Mgmt., LLC v. Charles Schwab Corp., Case
                      No. 4:18-cv-00287, filed in the Eastern District of Texas on April 23, 2018.

                   f. Chapwood Capital Investment Mgmt., LLC v. Charles Schwab Corp., Case
                      No. 4:18-cv-00548, filed in the Eastern District of Texas on August 3, 2018.

                   g. Clevenger v. U.S. Dep’t of Justice, Case No. 1:18-cv-01568, filed in the
                      Eastern District of New York on March 14, 2018.




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       15.     The terms referring to, concerning, relating to, or pertaining to any given subject

when used to specify a document, communication, or statement, shall mean or refer to any

document, communication, or statement that constitutes, contains, embodies, reflects, identifies,

states, refers to, deals with, discusses, mentions, supports, refutes, controverts, depicts, and or is

in any manner whatsoever pertinent to that subject.

                                  DOCUMENTS REQUESTED

Please produce the following documents, records, and information in your possession, custody, or
control:

   1. All documents referring or relating to, and all communications between, You and the
      following:
          a. Ed Butowsky;
          b. Dani Butowsky;
          c. Chapwood;
          d. Manuel Chavez;
          e. Thomas Schoenberger;
          f. Trevor Fitzgibbons;
          g. Beth Blackburn;
          h. Malia Zimmerman;
          i. Adam Housley;
          j. Shadowbox or any of its owners, representatives, employees, or agents;
          k. Fox News or any of its owners, representatives, employees, or agents;
          l. Lora Logan;
          m. Joseph Burkett;
          n. Any member of the Trump Administration (past or present);
          o. Steve Biss;
          p. Tanya Cornwell;
          q. Ty Clevenger; or
          r. defango@protonmail.com.

   2. All contracts or agreements entered into between You and Ed Butowsky.

   3. All contracts or agreements entered into between You and Chapwood.

   4. All contracts or agreements You entered concerning
      www.DeBunkingRodWheelersClaims.com



ILI SOLUTIONS LLC SUBPOENA EXHIBIT A                                                            PAGE
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   5. All contracts or agreements You entered concerning
      www.DeBunkingRodWheelersClaims.net

   6. All documents evidencing payments You received or were promised from:
          a. Ed Butowsky;
          b. Dani Butowsky;
          c. Chapwood;
          d. Googie LLP;
          e. Waterford Capital, Inc.;
          f. WoodChap, LLC;
          g. Steve Biss;
          h. Ty Clevenger; or
          i. Tanya Cornwell

   7. All documents referring or relating to, and all communications between You and any
      recipient, concerning the following, from July 10, 2016 to the present:
          a. David Folkenflik;
          b. Seth Rich;
          c. Aaron Rich;
          d. Joel Rich;
          e. Mary Rich;
          f. www.DeBunkingRodWheelersClaims.com; or
          g. www.DeBunkingRodWheelersClaims.net.

   8. All documents and communications evidencing the information posted by You on
      www.DeBunkingRodWheelersClaims.com.

   9. All documents and communications evidencing the information posted by You on
      www.DeBunkingRodWheelersClaims.net.

   10. All documents and communications evidencing the registration, renewals, and/or
       payment(s) for the website www.DeBunkingRodWheelersClaims.com.

   11. All documents and communications evidencing the registration, renewals, and/or
       payment(s) for the website www.DeBunkingRodWheelersClaims.net.

   12. All documents, communications and evidence You possess concerning the investigation
       into the murder of Seth Rich or the source of the 2016 Democratic National Committee
       leak of emails.




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   13. All documents or communications You possess concerning the allegations in the NPR
       Litigation.

   14. All documents or communications You possess concerning the allegations in the Wheeler
       Litigation.

   15. All documents or communications You possess concerning the allegations in the Rich
       Family Litigation.

   16. All documents or communications You possess concerning the allegations in the Related
       Butowsky Litigation.




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                                             United States Distric t Court
                                                                                   for the

                                                                     llnstcrn District of Texas

                              Ed Butowsky
                                                                                       )
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                                       V.                                              )       Civil .Action No. 4:18-cv-00442-ALM
    David Folkenflik; National Public Radio. Inc.; Edith
            Chapin; Leslie Cook; and Pallavi Gogoi
                                 Dcjciuldnl                                            )

                           SUBPOENA TO PRODUCE DOCUMENTS, INFORM.ATION, OR OBJECTS
                                OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                                        Drone M. Laizerovich
                                                           5604 Plumtree Dr., Dallas. Texas 75252-4929
                                                              fXante oj/tersoii lo whom this .siil'/Hteiia A titrei ietli

       ^ Pri>Jiiciioii: YOU ARE COMMANDED to produce at the time. date, and place set forth below the following
 documents, electronically stored information, or objects, and to pennit inspection. cop\ ing. testing, or .sampling of the
 material: See attached "Exhibit A"




   Place: Haynes and Boone, LLP                                                                  Dale and Time:
            2323 Victory Avenue, suite 700, Dallas. TX 75219
                                                                                                                      12/09/2019 12:00 pm

      • fmpeciion «/ Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed orcontrolled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, metisure. survey, photograph, test, orsample the property or any designated object oroperation on it.
   Place:                                                                                       Date and Time:




         The following provisions ofFed. R. Civ. P. 45 arc attached - Rule 45(c). relating to the place ofcompliance:
 Rule 45(d). relating to your protection as a person subject to asubpoena: and Rule 45(e) and (g). relating to your duty lo
 respond to this subpoena and the potential consequences of not doing so.
 Date:         11/18/2019


                                      CLERKOFCOURT
                                                                                                    OR
                                                                                                                                   Laura Prather
                                                  SifiiialiiivofClerk or Depiily Clerk                                         Attorney.slyniitiire


 i'he name, address, e-mail address, and telephone number ofthe attorney representing (nome oi/mny/
—Dgyjd Folkenflik, et a|.                                                        . who issues orrequests this subpoena, are:
  Laura Prather. Havnes and Boone. LLP. 600Congress. Suite 1300. Austin. TX78701, 512-867-8400. laura.pratlieriff/havnesboonc.c
                                                                                                                             j.coni


                                            Notice to the person who issues or requests this subpoena
It this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection ol premises before trial, anotice and a copy ofthe subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

                                                                                Exhibit C                                                             App. 0027
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action




                                       United States District Court
                                                                           for the

                                                             Eastern District of Texas

                           Ed Butowsky
                                                                              )
                               Plaintiff
                                                                              )
                                  v.                                          )        Civil Action No.         4:18-cv-00442-ALM
  David Folkenflik; National Public Radio, Inc.; Edith
                                                                              )
          Chapin; Leslie Cook; and Pallavi Gogoi
                                                                              )
                              Defendant                                       )

                       SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                            OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION


To:                                                                     HI Solutions LLC
                                                     4409 Longfellow Drive Piano, TX 75093 USA
                                                       (Name ofperson to whom this subpoena is directed)


      ^ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached "Exhibit A"




 Place: Haynes and Boone, LLP                                                           Date and Time:
          2323 Victory Avenue, suite 700, Dallas, TX 75219
                                                                                                            12/09/2019 12:00 pm


          Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.


 Place:                                                                                Date and Time:




          The following provisions of Fed. R. Civ. P. 45 are attached                      Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        11/18/2019

                                  CLERK OF COURT
                                                                                           OR
                                                                                                                     Isl Laura P rather
                                           Signa ture of Clerk or Deputy Clerk                                       Attorney 's signature



The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)

  David Folkenflik, et a I .                                                                               , who issues or requests this subpoena, are:

 Laura Prather. Haynes and Boone. LLP, 600 Congress, Suite 1300, Austin, TX 78701. 512-867-8400, laura.prather@havnesboone.com

                                       Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).


                                                                                                                                             App. 0031
        Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20                                                 Page 33 of 67 PageID 42
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)



Civil Action No. 4:18-cv-00442-ALM


                                                               PROOF OF SERVICE

                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)


            1 received this subpoena for (name of individual and title, ifany)

on (date)




                I served the subpoena by delivering a copy to the named person as follows:



                                                                                            on (date)                                  ; or
                                                                                        »




                1 returned the subpoena unexecuted be


                                        -         -
            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of

            $


My fees are $                                     for travel and $                              for services, for a total of $                 0.00




            I declare under penalty of perjury that this information is true.




Date:
                                                                                                   Server 's signature




                                                                                 , fX*        iH&Prinied name and title



                                                               **<>&
                                                                           tsy
                                                                    **
                                                                                                    Server 's address


Additional information regarding attempted service, etc.:




                                                                                                                                              App. 0032
        Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20                                                      Page 34 of 67 PageID 43
AO 88B (Rev. 02/14) Subpoena to Produce Documents. Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)



                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.                                                                 (ii) disclosing an tmrctained expert's opinion or information that does
                                                                                    not describe specific occurrences in dispute and results from the expert's
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                  study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may. instead of quashing or
regularly transacts business in person; or                                         modify ing a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                 '           (i) shows a substantial need for the testimony or material that cannot be
     (i) is a party or a party's officer; or                                       otherwise met without undue hardship: and
     (ii) is commanded to attend a trial and would not incur substantial                 (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.

                                                                                   (c) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                ( 1 ) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to (he               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
  (A) Appearance Not Required. A person commanded to produce                       of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person al the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting parly shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
 I'he objection must be served before the earlier of the time specified for        material must:
compliance or 14 days alter the subpoena is served. If an objection is made,           (i) expressly make the claim; and
the following rules apply:                                                             (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced. If information produced in response to a
     (ii) 1 hese acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party 's officer from     trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basts for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
  (A) When Required. Oil timely motion, the court for the district where           until the claim is resolved: must take reasonable steps to retrieve the
compliance is required must quash or modify' a subpoena that:                      information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies: or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court— may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
     (i) disclosing a trade secret or other confidential research,                 subpoena or an order related to it.
development, or commercial information; or




                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                                                                                                                  App. 0033
        Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20                           Page 35 of 67 PageID 44
                                    UNITED STATES DISTRICT COURT
                                                             for the
                                           EASTERN DISTRICT OF TEXAS

       ED BUTOWSKY                                            §
                                                              §
                                                              §
                           Plaintiff(s),                      §
       v.                                                     §          Civil Action No. 4 : 1 8-cv-00442-ALM
                                                              §
       DAVID FOLKENFLIK; ET AL
                                                              §
                                                              §
                          Defendant(s).                       §

                                              RETURN OF SERVICE

    Came to my hand on Tuesday, November 19, 2019 at 9:28 AM,
    Executed at: 5604 PLUMTREE DRIVE, DALLAS, TX 75252
   within the county of COLLIN at 10:15 AM, on Thursday, November 21, 2019,
   by individually and personally delivering to the within named:


                                                 ILI SOLUTIONS, LLC


    By delivering to its Authorized Representative, ORONE M. LAIZEROVICH
    a true copy of this


     SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
      INSPECTION OF PREMISES IN A CIVIL ACTION with EXHIBIT A TO SUBPOENA TO
        PRODUCE DOCUMENT, INFORMATION, OR OBJECTS TO ILI SOLUTIONS, LLC

    having first endorsed thereon the date of the delivery.


BEFORE ME, the undersigned authority, on this day personally appeared Adil Tadli who after being duly sworn on oath
states: "My name is Adil Tadli. I am a person not less than eighteen (18) years of age and I am competent to make this
oath. I am a resident of the State of Texas. I have personal knowledge of the facts and statements contained herein and
aver that each is true and correct. I am not a party to nor related or affiliated with any party to this suit. I have no interest
in the outcome of the suit. I have never been convicted of a felony or of a misdemeanor involving moral turpitude."




                                                       By:
                                                                  Adil Tadli - PSCl^W- Exp 05/31/20
    Subscribed and Sworn to by Adil Tadli, Before Me, the undersigned authority, on this                              day
    of November, 2019.



                                                                   Notary Public in and for the State of Texas

                                                                             1 1 xTTN-THOMAS e considine
                                                                             ( /WTA           Notary Public
                                                                               ihW;*)       STATE OF TEXAS
                                                                                              |D#1251 6820-9
                                                                                 ^ Of <S/^. Oonm^g^nM3^21 I
                                                                                                       App. 0034
Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20                  Page 36 of 67 PageID 45

From:             Orone Laizerovich
To:               Prather, Laura
Subject:          Re: Ed Butowsky v. NPR
Date:             Monday, December 16, 2019 7:50:39 AM



EXTERNAL: Sent from outside haynesboone

Good Morning Laura

I wanted to be sure you could access this link. I have created a directory for the items I
am submitting. Please verify you can access and i will proceed to submit.

Link:  https://ln2.sync.com/dl/05ac13860/iy3kuk3p-6guq5ej5-89wb39g6-jxrbp9ap
Password: Password%10

Contents should only show 1 file "Test.rtf". Let me know you see it.

Thanks
orone



On Mon, Nov 18, 2019 at 4:52 PM Prather, Laura <Laura.Prather@haynesboone.com> wrote:

  Hi Mr. Laizerovich,



  I represent NPR and a number of its reporters and editors in a lawsuit filed by Ed Butowsky.



  I have attached a subpoena to obtain relevant documents from you and your company ILI
  Solutions.



  Please let me know if you will accept service of these subpoenas, and please feel free to call
  me with any questions or concerns.



  Take care,

  Laura Prather



  haynesboone
  Laura Lee Prather


                                                   Exhibit D                                 App. 0035
Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20             Page 37 of 67 PageID 46

     Partner

     laura.prather@haynesboone.com

     Board Certified, Civil Appellate Law

     Texas Board of Legal Specialization



     Haynes and Boone, LLP

     600 Congress Avenue

     Suite 1300

     Austin, TX 78701-3285

     www.haynesboone.com



     (t) 512.867.8476

     (f) 512.867.8609




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     immediately notify the sender and delete it from your system.


--

Orone Laizerovich
Managing Partner

ILI Solutions, LLC
orone@ilisols.com
+1 972 740 2097 - Mobile




                                                                                  App. 0036
Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20                       Page 38 of 67 PageID 47

From:            Prather, Laura
To:              Orone Laizerovich
Subject:         RE: Ed Butowsky v. NPR
Date:            Friday, December 20, 2019 3:06:00 PM


Hi Orone,

I am just checking back with you on the status of the documents. Have you had an opportunity to
submit the documents yet?

Please advise.

Take care,
Laura

Laura Lee Prather
Partner
(t) 512.867.8476



From: Orone Laizerovich <orone@ilisols.com>
Sent: Monday, December 16, 2019 7:50 AM
To: Prather, Laura <Laura.Prather@haynesboone.com>
Subject: Re: Ed Butowsky v. NPR

EXTERNAL: Sent from outside haynesboone

Good Morning Laura

I wanted to be sure you could access this link. I have created a directory for the items I
am submitting. Please verify you can access and i will proceed to submit.

Link:  https://ln2.sync.com/dl/05ac13860/iy3kuk3p-6guq5ej5-89wb39g6-jxrbp9ap
Password: Password%10

Contents should only show 1 file "Test.rtf". Let me know you see it.

Thanks
orone




On Mon, Nov 18, 2019 at 4:52 PM Prather, Laura <Laura.Prather@haynesboone.com> wrote:

  Hi Mr. Laizerovich,



                                                  Exhibit E                                  App. 0037
Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20                        Page 39 of 67 PageID 48

     I represent NPR and a number of its reporters and editors in a lawsuit filed by Ed Butowsky.

     I have attached a subpoena to obtain relevant documents from you and your company ILI
     Solutions.

     Please let me know if you will accept service of these subpoenas, and please feel free to call me
     with any questions or concerns.

     Take care,
     Laura Prather


     haynesboone
     Laura Lee Prather
     Partner
     laura.prather@haynesboone.com
     Board Certified, Civil Appellate Law
     Texas Board of Legal Specialization

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     Austin, TX 78701-3285
     www.haynesboone.com

     (t) 512.867.8476
     (f) 512.867.8609




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--

Orone Laizerovich
Managing Partner

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+1 972 740 2097 - Mobile




                                                                                                    App. 0038
Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20                   Page 40 of 67 PageID 49

From:                 Prather, Laura
To:                   Orone Laizerovich
Subject:              Re: Ed Butowsky v. NPR
Date:                 Saturday, December 21, 2019 8:59:40 AM


Hi Orone,

Can you please let me know when you will be uploading the. The extension I provided to you
to provide the subpoenaed materials was until yesterday.

Typos courtesy of iPhone



       On Dec 21, 2019, at 3:32 AM, Orone Laizerovich <orone@ilisols.com> wrote:


       ﻿
           EXTERNAL: Sent from outside
           haynesboone

       Hi Laura..

       I have the docs and will be uploading them to folder.  

       On Fri, Dec 20, 2019 at 11:06 PM Prather, Laura
       <Laura.Prather@haynesboone.com> wrote:

            Hi Orone,



            I am just checking back with you on the status of the documents. Have you had
            an opportunity to submit the documents yet?



            Please advise.



            Take care,

            Laura



            Laura Lee Prather

            Partner

            (t) 512.867.8476

                                                        Exhibit F                           App. 0039
Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20                Page 41 of 67 PageID 50




      From: Orone Laizerovich <orone@ilisols.com>
      Sent: Monday, December 16, 2019 7:50 AM
      To: Prather, Laura <Laura.Prather@haynesboone.com>
      Subject: Re: Ed Butowsky v. NPR




       EXTERNAL: Sent from outside haynesboone




      Good Morning Laura



      I wanted to be sure you could access this link. I have created a directory for the
      items I am submitting. Please verify you can access and i will proceed to
      submit.



      Link:  https://ln2.sync.com/dl/05ac13860/iy3kuk3p-6guq5ej5-89wb39g6-
      jxrbp9ap

      Password: Password%10



      Contents should only show 1 file "Test.rtf". Let me know you see it.



      Thanks

      orone




      On Mon, Nov 18, 2019 at 4:52 PM Prather, Laura
      <Laura.Prather@haynesboone.com> wrote:


                                                                                           App. 0040
Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20               Page 42 of 67 PageID 51

        Hi Mr. Laizerovich,



        I represent NPR and a number of its reporters and editors in a lawsuit filed by
        Ed Butowsky.



        I have attached a subpoena to obtain relevant documents from you and your
        company ILI Solutions.



        Please let me know if you will accept service of these subpoenas, and please
        feel free to call me with any questions or concerns.



        Take care,

        Laura Prather



        haynesboone
        Laura Lee Prather

        Partner

        laura.prather@haynesboone.com

        Board Certified, Civil Appellate Law

        Texas Board of Legal Specialization



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        (f) 512.867.8609

                                                                                          App. 0041
Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20                    Page 43 of 67 PageID 52




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          --



          Orone Laizerovich

          Managing Partner



          ILI Solutions, LLC

          orone@ilisols.com

          +1 972 740 2097 - Mobile



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     --

     Orone Laizerovich
     Managing Partner

     ILI Solutions, LLC
     orone@ilisols.com
     +1 972 740 2097 - Mobile




                                                                                       App. 0042
Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20                  Page 44 of 67 PageID 53

From:           Orone Laizerovich
To:             Prather, Laura
Subject:        Re: Ed Butowsky v. NPR
Date:           Sunday, December 29, 2019 11:55:50 PM



EXTERNAL: Sent from outside haynesboone

Hi Laura

I’m sorry I am out of the country since the 20th in Israel for the Hanukkah holiday with
family. I was sure I had copied the files to the folder to the cloud. Please allow me to get to a
computer to verify. I am 8 hrs ahead and will be at my dads later this evening my time. I will
check and reply back today my time.

Thanks and again I apologize.
Orone

On Fri, Dec 27, 2019 at 1:10 AM Prather, Laura <Laura.Prather@haynesboone.com> wrote:

  Mr. Laizerovich,



  We have still not received any responsive documents to the subpoena that was served on you
  via email on November 18, 2019 and via process server on November 23, 2019. As you
  know, we accommodated your request for an extension of time to produce the responsive
  materials until December 13, 2019; however, we have still received nothing.



  I have attempted to follow up with you about the failure to comply with this subpoena on at
  least half a dozen occasions, and you have not responded.



  As a courtesy, I am attaching a draft of the Motion to Compel which we will be filing with
  the Court before year end should you not immediately produce the responsive documents.



  Sincerely,



  Laura Lee Prather

  Partner

  (t) 512.867.8476




                                                Exhibit G
                                                                                           App. 0043
Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20                 Page 45 of 67 PageID 54




 From: Orone Laizerovich <orone@ilisols.com>
 Sent: Monday, December 16, 2019 7:50 AM
 To: Prather, Laura <Laura.Prather@haynesboone.com>
 Subject: Re: Ed Butowsky v. NPR




  EXTERNAL: Sent from outside haynesboone




 Good Morning Laura



 I wanted to be sure you could access this link. I have created a directory for the items I
 am submitting. Please verify you can access and i will proceed to submit.



 Link:  https://ln2.sync.com/dl/05ac13860/iy3kuk3p-6guq5ej5-89wb39g6-jxrbp9ap

 Password: Password%10



 Contents should only show 1 file "Test.rtf". Let me know you see it.



 Thanks

 orone




 On Mon, Nov 18, 2019 at 4:52 PM Prather, Laura <Laura.Prather@haynesboone.com>
 wrote:

   Hi Mr. Laizerovich,



   I represent NPR and a number of its reporters and editors in a lawsuit filed by Ed

                                                                                          App. 0044
Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20                Page 46 of 67 PageID 55

   Butowsky.



   I have attached a subpoena to obtain relevant documents from you and your company ILI
   Solutions.



   Please let me know if you will accept service of these subpoenas, and please feel free to
   call me with any questions or concerns.



   Take care,

   Laura Prather



   haynesboone
   Laura Lee Prather

   Partner

   laura.prather@haynesboone.com

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   Texas Board of Legal Specialization



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   (f) 512.867.8609




                                                                                        App. 0045
Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20            Page 47 of 67 PageID 56

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 --



 Orone Laizerovich

 Managing Partner



 ILI Solutions, LLC

 orone@ilisols.com

 +1 972 740 2097 - Mobile



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 recipient. If you have received this transmission in error, please
 immediately notify the sender and delete it from your system.
--
Please excuse any typos




                                                                                   App. 0046
Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20                     Page 48 of 67 PageID 57

From:           Orone Laizerovich
To:             Prather, Laura
Subject:        Re: Ed Butowsky v. NPR
Date:           Monday, December 30, 2019 2:59:41 PM



EXTERNAL: Sent from outside haynesboone

laura..

I am not able to connect to computer at home it seems there may have been a network outage.
I am trying to contact our family friend to get them to see if they can go over and restart the
router and computer. Please stay tuned.

On Mon, Dec 30, 2019 at 6:13 PM Prather, Laura <Laura.Prather@haynesboone.com> wrote:

  Hi Orone,



  Thank you for following up.



  Please make sure that all audio files are included in the upload.



  Take care,

  Laura




  Laura Lee Prather

  Partner

  (t) 512.867.8476




  From: Orone Laizerovich <orone@ilisols.com>
  Sent: Sunday, December 29, 2019 11:56 PM
  To: Prather, Laura <Laura.Prather@haynesboone.com>
  Subject: Re: Ed Butowsky v. NPR



                                            Exhibit H                                    App. 0047
Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20                 Page 49 of 67 PageID 58



  EXTERNAL: Sent from outside haynesboone




 Hi Laura



 I’m sorry I am out of the country since the 20th in Israel for the Hanukkah holiday with
 family. I was sure I had copied the files to the folder to the cloud. Please allow me to get to
 a computer to verify. I am 8 hrs ahead and will be at my dads later this evening my time. I
 will check and reply back today my time.



 Thanks and again I apologize.

 Orone



 On Fri, Dec 27, 2019 at 1:10 AM Prather, Laura <Laura.Prather@haynesboone.com> wrote:

   Mr. Laizerovich,



   We have still not received any responsive documents to the subpoena that was served on
   you via email on November 18, 2019 and via process server on November 23, 2019. As
   you know, we accommodated your request for an extension of time to produce the
   responsive materials until December 13, 2019; however, we have still received nothing.



   I have attempted to follow up with you about the failure to comply with this subpoena on
   at least half a dozen occasions, and you have not responded.



   As a courtesy, I am attaching a draft of the Motion to Compel which we will be filing with
   the Court before year end should you not immediately produce the responsive documents.



   Sincerely,



   Laura Lee Prather


                                                                                          App. 0048
Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20                 Page 50 of 67 PageID 59

   Partner

   (t) 512.867.8476




   From: Orone Laizerovich <orone@ilisols.com>
   Sent: Monday, December 16, 2019 7:50 AM
   To: Prather, Laura <Laura.Prather@haynesboone.com>
   Subject: Re: Ed Butowsky v. NPR




    EXTERNAL: Sent from outside haynesboone




   Good Morning Laura



   I wanted to be sure you could access this link. I have created a directory for the items I
   am submitting. Please verify you can access and i will proceed to submit.



   Link: https://ln2.sync.com/dl/05ac13860/iy3kuk3p-6guq5ej5-89wb39g6-jxrbp9ap

   Password: Password%10



   Contents should only show 1 file "Test.rtf". Let me know you see it.



   Thanks

   orone




   On Mon, Nov 18, 2019 at 4:52 PM Prather, Laura <Laura.Prather@haynesboone.com>
   wrote:

                                                                                         App. 0049
Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20                Page 51 of 67 PageID 60


     Hi Mr. Laizerovich,



     I represent NPR and a number of its reporters and editors in a lawsuit filed by Ed
     Butowsky.



     I have attached a subpoena to obtain relevant documents from you and your company
     ILI Solutions.



     Please let me know if you will accept service of these subpoenas, and please feel free to
     call me with any questions or concerns.



     Take care,

     Laura Prather



     haynesboone
     Laura Lee Prather

     Partner

     laura.prather@haynesboone.com

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     Texas Board of Legal Specialization



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     www.haynesboone.com



     (t) 512.867.8476


                                                                                          App. 0050
Case 3:20-mc-00009-E-BH Document 2 Filed 01/24/20                   Page 52 of 67 PageID 61

               (f) 512.867.8609




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          --



          Orone Laizerovich

          Managing Partner



          ILI Solutions, LLC

          orone@ilisols.com

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                                                                                        App. 0051
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                                                                     App. 0052
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From:           Orone Laizerovich
To:             Prather, Laura
Subject:        Re: Ed Butowsky v. NPR
Date:           Tuesday, December 31, 2019 5:01:43 PM



EXTERNAL: Sent from outside haynesboone

I return Friday early evening. I had family go by but she didn’t understand what I explained to
her to do. No very computer savvy. I am trying a different way. I apologize For this.



On Tue, Dec 31, 2019 at 5:14 PM Prather, Laura <Laura.Prather@haynesboone.com> wrote:

  Hi Orone,



  Please let me know the status.



  When are you returning to the states?



  Thanks,

  Laura




  Laura Lee Prather

  Partner

  (t) 512.867.8476




  From: Orone Laizerovich <orone@ilisols.com>
  Sent: Monday, December 30, 2019 2:59 PM
  To: Prather, Laura <Laura.Prather@haynesboone.com>
  Subject: Re: Ed Butowsky v. NPR




                                                  Exhibit I                             App. 0053
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  EXTERNAL: Sent from outside haynesboone




 laura..



 I am not able to connect to computer at home it seems there may have been a network
 outage. I am trying to contact our family friend to get them to see if they can go over and
 restart the router and computer. Please stay tuned.  



 On Mon, Dec 30, 2019 at 6:13 PM Prather, Laura <Laura.Prather@haynesboone.com>
 wrote:

   Hi Orone,



   Thank you for following up.



   Please make sure that all audio files are included in the upload.



   Take care,

   Laura




   Laura Lee Prather

   Partner

   (t) 512.867.8476




   From: Orone Laizerovich <orone@ilisols.com>
   Sent: Sunday, December 29, 2019 11:56 PM
   To: Prather, Laura <Laura.Prather@haynesboone.com>

                                                                                        App. 0054
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   Subject: Re: Ed Butowsky v. NPR




    EXTERNAL: Sent from outside haynesboone




   Hi Laura



   I’m sorry I am out of the country since the 20th in Israel for the Hanukkah holiday with
   family. I was sure I had copied the files to the folder to the cloud. Please allow me to get
   to a computer to verify. I am 8 hrs ahead and will be at my dads later this evening my
   time. I will check and reply back today my time.



   Thanks and again I apologize.

   Orone



   On Fri, Dec 27, 2019 at 1:10 AM Prather, Laura <Laura.Prather@haynesboone.com>
   wrote:

     Mr. Laizerovich,



     We have still not received any responsive documents to the subpoena that was served
     on you via email on November 18, 2019 and via process server on November 23, 2019.
     As you know, we accommodated your request for an extension of time to produce the
     responsive materials until December 13, 2019; however, we have still received nothing.



     I have attempted to follow up with you about the failure to comply with this subpoena
     on at least half a dozen occasions, and you have not responded.



     As a courtesy, I am attaching a draft of the Motion to Compel which we will be filing
     with the Court before year end should you not immediately produce the responsive
     documents.




                                                                                         App. 0055
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     Sincerely,



     Laura Lee Prather

     Partner

     (t) 512.867.8476




     From: Orone Laizerovich <orone@ilisols.com>
     Sent: Monday, December 16, 2019 7:50 AM
     To: Prather, Laura <Laura.Prather@haynesboone.com>
     Subject: Re: Ed Butowsky v. NPR




     EXTERNAL: Sent from outside haynesboone




     Good Morning Laura



     I wanted to be sure you could access this link. I have created a directory for the items I
     am submitting. Please verify you can access and i will proceed to submit.



     Link:  https://ln2.sync.com/dl/05ac13860/iy3kuk3p-6guq5ej5-89wb39g6-jxrbp9ap

     Password: Password%10



     Contents should only show 1 file "Test.rtf". Let me know you see it.



     Thanks

     orone




                                                                                         App. 0056
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     On Mon, Nov 18, 2019 at 4:52 PM Prather, Laura <Laura.Prather@haynesboone.com>
     wrote:

       Hi Mr. Laizerovich,



       I represent NPR and a number of its reporters and editors in a lawsuit filed by Ed
       Butowsky.



       I have attached a subpoena to obtain relevant documents from you and your company
       ILI Solutions.



       Please let me know if you will accept service of these subpoenas, and please feel free
       to call me with any questions or concerns.



       Take care,

       Laura Prather



       haynesboone
       Laura Lee Prather

       Partner

       laura.prather@haynesboone.com

       Board Certified, Civil Appellate Law

       Texas Board of Legal Specialization



       Haynes and Boone, LLP

       600 Congress Avenue

       Suite 1300

       Austin, TX 78701-3285



                                                                                       App. 0057
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        --



        Orone Laizerovich

        Managing Partner



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   --

   Please excuse any typos



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                                                                                    App. 0058
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      recipient. If you have received this transmission in error, please
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 --



 Orone Laizerovich

 Managing Partner



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Please excuse any typos




                                                                                      App. 0059
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From:           Orone Laizerovich
To:             Prather, Laura
Subject:        documents going up
Date:           Monday, January 6, 2020 8:45:29 AM



EXTERNAL: Sent from outside haynesboone

Laura

Good morning.

I arrived Friday night to see my computer died. I have replaced and restarted the upload to the
respective directory we share. Sorry for the delay.

orone


--

Orone Laizerovich
Managing Partner

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                                                     Exhibit J                          App. 0060
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To whom it may concern at Haynes and Boone, LLP,

This is in response to the request for documentation from the subpoena presented to myself,
Orone Laizerovich.

Referring to the Section in the Subpoena called “Documents Requested” on page 6:

   1. All documents referring or relating to, and all communication between, You and the
      following:
      A. Ed Butowsky = I object to this request as overbroad, unduly burdensome, and
          unlikely to lead to the discovery of admissible evidence. Without waiving those
          objections, I do not have anything to present.
          I further object to this request because it seeks proprietary information that is
          neither relevant to this case nor likely to lead to the discovery of admissible
          evidence.
      B. Dani Butowsky = I object to this request as overbroad, unduly burdensome, and
          unlikely to lead to the discovery of admissible evidence. Without waving those
          objections, I do not have any documents or communication with this person.
      C. Chapwood = I object to this request as overbroad, unduly burdensome, and unlikely
          to lead to the discovery of admissible evidence. Without waiving those objections, I
          do not have anything to present.
          I further object to this request because it seeks proprietary information that is
          neither relevant to this case nor likely to lead to the discovery of admissible
          evidence.
      D. Manuel Chavez = I do not know who this person is, nor do I have anything to present
      E. Thomas Schoenberger = I object to this request as overbroad, unduly burdensome,
          and unlikely to lead to the discovery of admissible evidence. Without waving those
          objections, I am producing all email and attachments.
      F. Trevor Fitzgibbons = I do not know who this person is, nor do I have anything to
          present.
      G. Beth Blackburn = I do not know who this person is, nor do I have anything to
          produce.
      H. Malia Zimmerman = I do not know this person, and I do not have anything to
          produce.
      I. Adam Housley = I do not know this person, and I do not have anything to produce.
      J. Shadowbox = I object to this request as overbroad, unduly burdensome, and unlikely
          to lead to the discovery of admissible evidence. Without waving those objections, I
          am producing all email and attachments relating to this company and its members.
      K. Fox News (owners, reps, employees, or agents) = I do not know any people at this
          company, and I do not have anything to produce.
      L. Lora Logan = I do not know who this person is, nor do I have anything to produce.
      M. Joseph Burkett = I do not know who this person is, nor do I have anything to
          produce.




                                        Exhibit K                                     App. 0061
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     N. Any member of Trump Administration = I do not know any persons in the Trump
        administration in the past or present. I do not have anything to produce.
     O. Steve Biss = I do not know who this person is, nor do I have anything to produce.
     P. Tanya Cornwell = I do not know who this person is, nor do I have anything to
        produce.
     Q. Ty Clevenger = I do not know who this person is, nor do I have anything to produce.
     R. defango@protonmail.com = I object to this request as overbroad, unduly
        burdensome, and unlikely to lead to the discovery of admissible evidence. Without
        waving those objections, I am producing all email and attachments.

  2. All contracts or agreements entered into between You and Ed Butowsky.
             a. I object to this request because it seeks proprietary information that is
                 neither relevant to this case nor likely to lead to the discovery of admissible
                 evidence. Without waving those objections, I do not have anything to
                 present.

  3. All contracts or agreements entered into between You and Chapwood.
          a. I object to this request because it seeks proprietary information that is neither
             relevant to this case nor likely to lead to the discovery of admissible evidence.
             Without waving those objections, I do not have anything to present.
  4. All contracts or agreements you entered concerning
     www.debunkingrodwheleersclaims.com .
          a. I have never entered into any contracts or agreements verbal or written with
             anyone about anything relating to this domain or website. I do not have
             anything to produce.
  5. All contracts or agreements you entered concerning
     www.debunkingrodwheelersclaims.net.
          a. I have never entered into any contracts or agreements verbal or written with
             anyone about anything relating to this domain or website. I do not have
             anything to produce.
  6. All documents evidencing payments you received or were promised from:
          a. Ed Butowsky = Never received any payments from Ed Butowsky.
          b. Dani Butowsky = Never received any payments from Dani Butowsky.
          c. Chapwood = I object to this request because it seeks proprietary information
             that is neither relevant to this case nor likely to lead to the discovery of
             admissible evidence. Without waving those objections, I do not have anything to
             present.
          d. Google LLP = Never received any payments from Google LLP.
          e. Waterford Capital, Inc = Never received any payments from Waterford Capital,
             Inc.
          f. WoodChap, LLC = Never received any payments from WoodChap, LLC.
          g. Steve Biss = Never received any payments from Steve Biss.
          h. Ty Clevenger = Never received any payments from Ty Clevenger.
          i. Tanya Cornwell = Never received any payments from Tanya Cornwell.



                                                                                          App. 0062
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  7. All documents referring or relating to and all communications between you and any
      recipient, concerning the following from July 10, 2016 to the present:
           a. David Folkenflik = I do not know this person nor have I received any documents
               or communication from this person or from anyone else about this person.
           b. Seth Rich = I do not know this person nor have I received any documents or
               communication from this person or from anyone else about this person.
           c. Aaron Rich = I do not know this person nor have I received any documents or
               communication from this person or from anyone else about this person.
           d. Joel Rich = I do not know this person nor have I received any documents or
               communication from this person or from anyone else about this person.
           e. Mary Rich = I do not know this person nor have I received any documents or
               communication from this person or from anyone else about this person.
           f. www.debunkingrodwheelersclaims.com = I do not have any communication or
               documents about this site.
           g. www.debunkingrodwheelersclaims.net = I do not have any communication or
               documents about this site.
  8. All documents and communication evidencing the information posted by you on
      www.debunkingrodwheleersclaims.com
           a. I do not have anything to do with this domain or the information on this website
               or where it came from.
  9. All documents and communication evidencing the information posted by you on
      www.debunkingrodwheelersclaims.net
           a. I do not have anything to do with this domain or the information on this website
               or where it came from.
  10. All documents and communication evidencing the registration, renewals, and or
      payment(s) for the website www.debunkingrodwheelersclaims.com.
           a. I do not have any documents or communication about this website or payments
               evidencing registration, renewals or payments.
  11. All documents and communication evidencing the registration, renewals, and or
      payment(s) for the website www.debunkingrodwheelersclaims.net.
           a. I do not have any documents or communication about this website or payments
               evidencing registration, renewals or payments.
  12. All documents, communication and evidence you possess concerning the investigation
      into the murder of Seth Rich or the source of the 2016t democratic national committee
      leak of emails.
           a. I do not have any documents, communication, or evidence concerning any of the
               items listed.
  13. All documents or communication you possess concerning the allegations in the NPR
      litigation.
           a. I do not have any documents or communication regarding this litigation.
  14. All documents or communication you possess concerning the allegations in the Wheeler
      Litigation.
           a. I do not have any documents or communication regarding this litigation.




                                                                                      App. 0063
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  15. All documents or communication you possess concerning the allegations in the Rich
      Family litigation.
          a. I do not have any documents or communication regarding this litigation.
  16. All documents or communication you possess concerning the allegations in the related
      Butowsky litigation.
          a. I do not have any documents or communication regarding this litigation.




                                                                                    App. 0064
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                           Exhibit L                                 App. 0065
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                                                                     App. 0066
